Case 14-10979-CSS   Doc 2011-2   Filed 09/15/14   Page 1 of 2




                    EXHIBIT A
                           Case 14-10979-CSS                   Doc 2011-2            Filed 09/15/14            Page 2 of 2


Wright, Davis Lee

From:                                       Ramsey, Natalie
Sent:                                       Friday, September 12, 2014 2:46 PM
To:                                         Sexton, Anthony Vincenzo (anthony.sexton@kirkland.com)
Cc:                                         O'Connor, Bridget K. (boconnor@kirkland.com); Husnick, Chad J.
                                            (chusnick@kirkland.com); Wright, Davis Lee
Subject:                                    EFH
Attachments:                                Plaintiff List for PI Law Firm Movants.pdf; OC-Ebasco-CPL Roxboro NC - List query.pdf;
                                            Early Lucarelli exhibit to letter to UST.pdf


Anthony, Bridget, Chad,

I just spoke with Mr. Schepacarter, who advised me that you are aware that the Office of the United States Trustee has
decided to appoint a separate committee of Asbestos Personal Injury Claimants. Mr. Schepacarter suggested that I
provide you with a list of the law firms and claimants of which we are aware in connection with the compilation you are
preparing for him. I attach (1) exhibit C to our August 8, 2014 letter (the 8/8/14 Ltr) to the Office of the United States
Trustee, which lists the plaintiffs represented by four of the PI Law Firms we represented in connection with the request
for appointment of a Committee; (2) exhibit D to our 8/8/14 Ltr, which reflects the clients represented by the fifth firm,
Early Lucarelli; and (3) a client list of another firm that subsequently contacted us with an interest in participating in this
case, Wallace & Graham. We have also been contacted by David C. Thompson of Jackson County, Missouri, who has
indicated that he represents one or more claimants against the Debtors. Please let us know if we can be of further
assistance in identifying individuals and/or law firms which may wish to participate on the committee.

Also, in light of this development, we propose to ask the Court to continue the hearing scheduled for next Tuesday on
the Debtors’ motion for an asbestos bar date so that an official committee may be heard with respect to these
matters. Please let us know whether you will agree to a continuance. Because the hearing is scheduled for next
Tuesday morning, we ask that you advise us of your position as soon as possible, but no later than 9:00 am on
Monday. If you do not agree, it is our intention to file an emergency motion for a continuance with the Court first thing
on Monday morning.

               Thank you, Natalie

                    Natalie D. Ramsey | Partner
                    Montgomery McCracken Walker & Rhoads LLP
                    123 South Broad Street | Avenue of the Arts | Philadelphia, PA 19109
                    Tel: 215-772-7354 | Fax: 215-731-3910 | nramsey@mmwr.com | Attorney Profile




Notice: This email message may contain legally privileged and/or confidential information. If you are not the intended recipient(s), or the employee or
agent responsible for delivery of this message to the intended recipient(s), you are hereby notified that any dissemination, distribution and/or copying of
this message is strictly prohibited. If you have received this message in error, please immediately notify the sender and please immediately delete this
message from your computer as well as any storage device(s). Thank you.




                                                                             1
